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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

DONNA CAVE, JUDITH LANSKY,                                                             PLAINTIFFS
PAT PIAZZA, and SUSAN RUSSELL

ANNE ORSI, AMERICAN HUMANIST       CONSOLIDATED PLAINTIFFS
ASSOCIATION, FREEDOM FROM
RELIGION FOUNDATION, INC.,
ARKANSAS SOCIETY OF FREETHINKERS,
JOAN DIETZ, GALE STEWART, RABBI
EUGENE LEVY, REV. VICTOR H. NIXON,
TERESA GRIDER, and WALTER RIDDICK

THE SATANIC TEMPLE, DOUG MISICKO                                                   INTERVENORS
aka “LUCIEN GREAVES,” and ERIKA
ROBBINS

v.                               No. 4:18CV00342 KGB/BD

JOHN THURSTON, Arkansas Secretary of State,
in his official capacity                                                             DEFENDANT

      TST’S RESPONSES AND OBJECTIONS TO DEFENDANT’S FIRST DISCOVERY REQUESTS

       INTERROGATORY NO. 1: Please state the Satanic Temple’s full legal name; all names

and aliases used by the Satanic Temple or by which the Satanic Temple has been known at any time;

the Satanic Temple’s legal entity type and all dates of any current or former incorporation or legal

creation, specifying all states under whose laws the Satanic Temple has existed at any time; the full

legal name and title of each current and former employee, officer, director, manager, board

member, advisory member, or person or entity holding any other position of responsibility or

leadership, whether compensated or not.

       Answer: Intervenors do not object to providing the current full legal name of The Satanic

Temple. On information and belief, the full legal name of the organization is still United Federation

of Churches, LLC. To everything else, Intervenors object on the grounds that the information
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sought is not relevant to any party’s claim or defense and is not proportional to the needs of the

case.

        September 26, 2019 supplement: TST is given corporate structure by “The Satanic

Temple, Inc.” which is a Massachusetts non-profit corporation. To the extent the request seeks to

discover information about members and agents of TST, the request is not proportional to the

needs of the case because TST is a complex and international organization with local chapters

dispersed throughout the world and whose leadership structure is in constant flux. The current

membership of TST exceeds 50,000 individuals, many of whom participate in a leadership role for

various charitable and religious activities.

        Compounding the difficulty of adhering to the request, individual participants of TST very

often have pseudonyms to protect their safety. The volume of information sought is overwhelming

and has no passable bearing on the questions of this case.

        Not only is the information sought onerous to procure in the first place, Rule 26 requires

ongoing supplementation. Every time a volunteer steps down from–or steps up to–a leadership

position would require a new supplement.

        April 10, 2020 supplement: TST’s objection was sustained.

        REQUEST FOR PRODUCTION NO. 1: Please produce copies of all current and

former articles of incorporation or analogous documents filed with any state evincing the Satanic

Temple’s creation as a corporate entity; and copies of all current and former bylaws, operating

agreements, or analogous documents.

        Answer: Intervenors object on the grounds that the information sought is not relevant to

any party’s claim or defense and is not proportional to the needs of the case.

        September 26, 2019 supplement: Intervenors are providing the articles of incorporation.

The bylaws have nothing to say about whether the Ten Commandments Monument Display Act is


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an unconstitutional State establishment of religion; or whether Act 274 of 2017 unconstitutionally

undermined TST’s efforts to secure a place for the Baphomet Monument on Capitol Grounds, or to

any of Defendant’s affirmative defenses.

        April 10, 2020 supplement: TST’s objection was sustained except to the extent TST was

ordered “the Satanic Temple to produce current bylaws, operating agreements, or analogous

documents.” Order at p. 20 (emphasis in original). The order directs TST to confer with all parties

for a reasonable protective order. Intervenors propose an attorney’s-eyes-only protective order with

an obligation to delete the information following the entry of a final order, and all filings marked

“confidential” and filed under seal.

        INTERROGATORY NO. 2: Please identify all persons or entities in whose name(s) each

of the following domains has been registered at any time, and identify all persons or entities that

have produced, published, or maintained any content accessible from that domain at any time:

http://www.thesatanictemple.com, https://afterschoolsatan.com/,

https://religiousreproductiverights.com/, https://protectchildrenproject.com/,

https://greyfaction.org/, http://dougmesner.com/, http://www.process.org,

http://www.westboro-baptists.com, and https://salemartgallery.com/.

        Answer: Intervenors object on the grounds that the information sought is not relevant to

any party’s claim or defense and is not proportional to the needs of the case. Further, domain

registrations are a matter of public record, so intervenors object on the ground that it is unduly

burdensome.

        September 26, 2019 supplement: The information sought has no identifiable relevance to

whether the Ten Commandments Monument Display Act is an unconstitutional State establishment

of religion; or whether Act 274 of 2017 unconstitutionally undermined TST’s efforts to secure a




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place for the Baphomet Monument on Capitol Grounds, or to any of Defendant’s affirmative

defenses.

       April 10, 2020 supplement: TST’s objection was sustained.

       REQUEST FOR PRODUCTION NO. 2: Please produce a copy of the Satanic Temple’s

year-end budgets for the years 2015, 2016, 2017, and 2018, and a copy of the Satanic Temple’s

current operating budget. Include in each budget, among other things, the Satanic Temple’s sources

of income, liabilities, categorized expenditures, and recipients of the Satanic Temple’s tax-exempt

contributions.

       Answer: Intervenors object on the grounds that the information sought is not relevant to

any party’s claim or defense and is not proportional to the needs of the case.

       September 26, 2019 supplement: The information sought has no identifiable relevance to

whether the Ten Commandments Monument Display Act is an unconstitutional State establishment

of religion; or whether Act 274 of 2017 unconstitutionally undermined TST’s efforts to secure a

place for the Baphomet Monument on Capitol Grounds, or to any of Defendant’s affirmative

defenses.

       April 10, 2020 supplement: TST’s objection was sustained.

       REQUEST FOR PRODUCTION NO. 3: Please produce a copy of the Satanic Temple’s

state and federal tax returns for 2015, 2016, 2017, and 2018.

       Answer: Intervenors object on the grounds that the information sought is not relevant to

any party’s claim or defense and is not proportional to the needs of the case.

       September 26, 2019 supplement: The information sought has no identifiable bearing on

whether the Ten Commandments Monument Display Act is an unconstitutional State establishment

of religion; or whether Act 274 of 2017 unconstitutionally undermined TST’s efforts to secure a




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place for the Baphomet Monument on Capitol Grounds, or to any of Defendant’s affirmative

defenses.

           April 10, 2020 supplement: “The Satanic Temple” is not a discrete entity with tax returns.

Intervenors thus have no responsive documents. In the telephonic discovery hearing on March 11,

the Court directed Defendant to issue new discovery requests to the entities which the State seeks tax

returns.

           INTERROGATORY NO. 3: Please identify the Satanic Temple’s current and any former

tax status (e.g., taxable, tax exempt, etc.) with both its state of incorporation and the Internal

Revenue Service, and identify all records relating to those statuses, including among other things,

application materials, completed forms, correspondence, etc. Please specifically identify any records

that recognize the Satanic Temple as a “church” or religious organization.

           Answer: The Satanic Temple is a tax-exempt organization. The IRS letter relating to that

status will be supplemented at a later time. Otherwise, Intervenors object on the grounds that the

information sought is not relevant to any party’s claim or defense and is not proportional to the

needs of the case.

           September 26, 2019 supplement: The IRS letter was produced on September 5.

           REQUEST FOR PRODUCTION NO. 4: Please produce a copy of all records identified

in your response to the previous interrogatory.

           Answer: The IRS letter relating to our tax-exempt status will be supplemented at a later

time. Otherwise, Intervenors object on the grounds that the information sought is not relevant to

any party’s claim or defense and is not proportional to the needs of the case.

           September 26, 2019 supplement: The IRS letter was produced on September 5.




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       INTERROGATORY NO. 4: Please identify all persons or entities that have received

proceeds from purchases made through the Satanic Temple’s website as well as from contributions

made through each of the following webpages: https://thesatanic

temple.com/collections/contribute-to-the-satanic-temple-campaigns/products/donate-to-the-

satanic-temple, https://thesatanictemple.com/products/after-school-satan-campaign,

https://thesatanictemple.com/collections/contribute-to-the-satanic-temple-campaigns/

products/support-grey-faction, https://thesatanictemple.com/collections/contribute-to-the-satanic-

temple-campaigns/products/protect-children-project, https://religious

reproductiverights.com/lawsuit-status/donate-to-religious-reproductive-rights,

http://www.indiegogo.com/projects/put-a-satanic-monument-at-ok-capitol/,

https://www.indiegogo.com/projects/the-satanic-temple-adopt-a-highway-campaign,

https://www.generosity.com/memorial-fundraising/the-satanic-temple-veterans-monument.

       Answer: Intervenors object on the grounds that the information sought is not relevant to

any party’s claim or defense and is not proportional to the needs of the case.

       September 26, 2019 supplement: The information sought has no identifiable bearing on

whether the Ten Commandments Monument Display Act is an unconstitutional State establishment

of religion; or whether Act 274 of 2017 unconstitutionally undermined TST’s efforts to secure a

place for the Baphomet Monument on Capitol Grounds, or to any of Defendant’s affirmative

defenses.

       April 10, 2020 supplement: TST’s objection was sustained.

       INTERROGATORY NO. 5: Please identify all persons or entities that received the

proceeds when contributions were made through the “Bring Baphomet to Arkansas!” website,

accessible at https://www.flipcause.com/secure/cause_pdetails/Mzg4NTY=.




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        Answer: Intervenors object on the grounds that the information sought is not relevant to

any party’s claim or defense and is not proportional to the needs of the case.

        September 26, 2019 supplement: The information sought has no identifiable bearing on

whether the Ten Commandments Monument Display Act is an unconstitutional State establishment

of religion; or whether Act 274 of 2017 unconstitutionally undermined TST’s efforts to secure a

place for the Baphomet Monument on Capitol Grounds, or to any of Defendant’s affirmative

defenses.

        April 10, 2020 supplement: TST’s objection was sustained.

        REQUEST FOR PRODUCTION NO. 5: Please produce a copy of all records showing

all proceeds from contributions made through the “Bring Baphomet to Arkansas!” website received

by the persons or entities identified in response to the previous interrogatory.

        Answer: Intervenors object on the grounds that the information sought is not relevant to

any party’s claim or defense and is not proportional to the needs of the case.

        September 26, 2019 supplement: The information sought has no identifiable bearing on

whether the Ten Commandments Monument Display Act is an unconstitutional State establishment

of religion; or whether Act 274 of 2017 unconstitutionally undermined TST’s efforts to secure a

place for the Baphomet Monument on Capitol Grounds, or to any of Defendant’s affirmative

defenses.

        April 10, 2020 supplement: TST’s objection was sustained.

        INTERROGATOY NO. 6: Please identify what dollar amount of the proceeds received

through the “Bring Baphomet to Arkansas!” website was used to pay for or offset the costs of

taking the Baphomet statue to the Arkansas state capitol for the rally on or about August 16, 2018.

        Answer: Intervenors object on the grounds that the information sought is not relevant to

any party’s claim or defense and is not proportional to the needs of the case.


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        September 26, 2019 supplement: The information sought has no identifiable bearing on

whether the Ten Commandments Monument Display Act is an unconstitutional State establishment

of religion; or whether Act 274 of 2017 unconstitutionally undermined TST’s efforts to secure a

place for the Baphomet Monument on Capitol Grounds, or to any of Defendant’s affirmative

defenses.

        April 10, 2020 supplement: TST’s objection was sustained.

        REQUEST FOR PRODUCTION NO. 6: Please produce a copy of all records showing

the use of the proceeds received through the “Bring Baphomet to Arkansas!” website to pay for or

offset the costs of taking the Baphomet statue to the Arkansas state capitol for the rally on or about

August 16, 2018.

        Answer: Intervenors object on the grounds that the information sought is not relevant to

any party’s claim or defense and is not proportional to the needs of the case.

        September 26, 2019 supplement: The information sought has no identifiable bearing on

whether the Ten Commandments Monument Display Act is an unconstitutional State establishment

of religion; or whether Act 274 of 2017 unconstitutionally undermined TST’s efforts to secure a

place for the Baphomet Monument on Capitol Grounds, or to any of Defendant’s affirmative

defenses.

        April 10, 2020 supplement: TST’s objection was sustained.

        INTERROGATORY NO. 7: Please identify all persons or entities that were involved in,

or paid costs associated with, the design, construction, or modification of the Baphomet statue as

well as all persons or entities that have a legal or equitable interest in the statue.

        Answer: TST does not object to providing information about the design and construction of

the Baphomet monument. To the extent any modifications have been performed, TST does not

object to providing that information, as well. However, this information was not reasonably


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available inside the time provided for responses. Otherwise, Intervenors object on the grounds that

the information sought is not relevant to any party’s claim or defense and is not proportional to the

needs of the case.

          September 26, 2019 supplement: The information sought was produced on September 5.

          April 10, 2020 supplement: TST’s objection was sustained, except to the extent TST was

ordered to identify any modifications to the monument. There have been no modifications to the

monument.

          REQUEST FOR PRODUCTION NO. 7: Please produce a copy of all records showing

the legal or equitable interests in the Baphomet statute of the persons or entities identified in the

previous interrogatory.

          Answer: TST does not object to providing information about the design and construction of

the Baphomet monument. To the extent any modifications have been performed, TST does not

object to providing that information, as well. However, this information was not reasonably

available inside the time provided for responses. Otherwise, Intervenors object on the grounds that

the information sought is not relevant to any party’s claim or defense and is not proportional to the

needs of the case.

          September 26, 2019 supplement: The information sought was produced on September 5.

          April 10, 2020 supplement: TST’s objection was sustained, except to the extent TST was

ordered to produce documents related to any modifications to the monument. There have been no

modifications to the monument, so there are no documents to produce.

          INTERROGATORY NO. 8: Please explain the various symbolic elements or aspects of

the Baphomet monument, specifying the inspiration, significance, or meaning of each element or

aspect.




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       Answer: TST does not object to an explanation behind the symbolic elements of the

Baphomet monument, and meaning thereof. However, this information was not reasonably

available within the time to respond and will be supplemented at a later time.

       September 26, 2019 supplement: From Lucien Greaves:

               The Baphomet monument image is loosely based upon a 19th
               century drawing by an occult historian, Eliphas Levi.

               The binary elements of the Baphomet monument (i.e. the part-
               animal, part human central figure; the gesture of the Baphomet
               pointing upward with one hand, downward with the other, the
               inverted pentagram on the background slab and the non-inverted star
               on the Baphomets) as well as the central caduceus symbolizing
               negotiation and harmony, are meant to suggest a message in support
               of the reconciliation of opposites and symbolize pluralism and
               tolerance.

               As I explained in an article [available at https://luciengreaves.com/a-
               stone-for-a-stone-the-baphomet-the-decalogue/] I wrote about the
               Baphomet monument:

               The name Baphomet [originated] during the Crusades. ‘Baphomet’ is
               almost certainly derived from ‘Mahomet’, or Muhammad, prophet of
               Islam. Muslims were the ‘satanized’ outgroup of the time. For
               centuries, Jews were regularly accused of all of the things now
               attributed to an imaginary Satanist conspiracy: infant sacrifice,
               cannibalism, complex plots against the Common Good. During the
               early colonization of the US, it was commonly believed that the
               Native ‘Indians’ worshipped Satan. Later, black slaves were the
               afeared Satanists, believed to be entering into pacts with the Devil as
               part of a supernatural plot to overthrow their oppressors. And, of
               course, most everybody is aware of the Puritan witch-hunts. These
               unjust accusations -- these savage out-group purges -- are all a part of
               the trial and error that helped us to realize our need for a rational,
               secular legal system.

               Standards such as the accuser’s burden of proof, the presumption of
               innocence, a respect for material evidence, are all a result of our
               finding ways to subdue brute mob intolerance. Today, we are rightly
               offended by anti-blasphemy laws and divine fiats.

               Our monument will stand in honor of those unjustly accused -- the
               slandered minority, the maligned outgroups -- so that we might pay
               respect to their memory and celebrate our progress as a pluralistic
               nation founded on secular law.

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       REQUEST FOR PRODUCTION NO. 8: Please produce copies of all videos and

photographs created by or for the Satanic Temple (or by or for any person currently or formerly

associated with the Satanic Temple), related to the rally in support of Rick Scott on or about January

25, 2013; the “pink mass” in or around Meridian, Mississippi, on or about July 2013; the installation

of the second Ten Commandments monument on the Arkansas state capitol grounds on or about

April 26, 2018; and the “rally for religious liberty” on the Arkansas state capitol grounds on or about

August 16, 2018.

       Answer: Intervenors object on the grounds that the information sought is not relevant to

any party’s claim or defense and is not proportional to the needs of the case.

       September 26, 2019 supplement: Subject to the objection that the information sought has

no identifiable bearing on whether the Ten Commandments Monument Display Act is an

unconstitutional State establishment of religion; or whether Act 274 of 2017 unconstitutionally

undermined TST’s efforts to secure a place for the Baphomet Monument on Capitol Grounds, or to

any of Defendant’s affirmative defenses, the information was produced on September 5.

       REQUEST FOR PRODUCTION NO. 9: Please produce copies of all videos or

promotional materials created or used to publicize or promote the After School Satan Club.

       Answer: Intervenors object on the grounds that the information sought is not relevant to

any party’s claim or defense and is not proportional to the needs of the case.

       September 26, 2019 supplement: Subject to the objection that the information sought has

no identifiable bearing on whether the Ten Commandments Monument Display Act is an

unconstitutional State establishment of religion; or whether Act 274 of 2017 unconstitutionally

undermined TST’s efforts to secure a place for the Baphomet Monument on Capitol Grounds, or to

any of Defendant’s affirmative defenses, only one promotional video was created for After School

Satan Club. It is available at https://youtu.be/b48-SBYbahQ


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        INTERROGATORY NO. 9: Please identify all legal and financial relationships the Satanic

Temple has had at any time with Doug Misicko, Cevin Soling, United Federation of Churches, LLC;

Reason Alliance, Ltd; The Alliance for Self-Directed Education, Inc; Alliance for Integrity and

Justice Ltd.; and Spectacle Films.

        Answer: Intervenors object on the grounds that the information sought is not relevant to

any party’s claim or defense and is not proportional to the needs of the case.

        September 26, 2019 supplement: The information sought has no identifiable bearing on

whether the Ten Commandments Monument Display Act is an unconstitutional State establishment

of religion; or whether Act 274 of 2017 unconstitutionally undermined TST’s efforts to secure a

place for the Baphomet Monument on Capitol Grounds, or to any of Defendant’s affirmative

defenses.

        April 10, 2020 supplement: TST’s objection was sustained.

        INTERROGATORY NO. 10: Please identify every lawsuit or legal proceeding of

whatever kind to which the Satanic Temple has been a party since 2013, whether civil or criminal,

specifying the court, the court’s location and jurisdiction, the case number, the filing date, every

claim made or charge brought by or against the Satanic Temple (whether or not dismissed, etc.), and

the outcome of the proceeding.

        Answer: Intervenors object on the grounds that the information sought is not relevant to

any party’s claim or defense and is not proportional to the needs of the case. Further, TST objects

on the grounds of undue burden.

        September 26, 2019 supplement: The information sought has no identifiable bearing on

whether the Ten Commandments Monument Display Act is an unconstitutional State establishment

of religion; or whether Act 274 of 2017 unconstitutionally undermined TST’s efforts to secure a




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place for the Baphomet Monument on Capitol Grounds, or to any of Defendant’s affirmative

defenses.

       The information sought presents an undue burden on TST because cases in which TST is or

was a party can be located through a simple public records search.

       A public search would not turn up a case where Lucien Greaves served as an expert witness

on the question of Satanism. A PDF of the Brockton District Court’s order was produced on

September 5.

       April 10, 2020 supplement: TST’s objection was sustained, except to the extent TST was

ordered to produce the case name, case number, and jurisdictions of all civil or criminal cases in

which TST or Doug Misicko has been a party since 2013.

       TST or Doug Misicko have been parties to the following civil or criminal cases since 2013:

            1. The Satanic Temple v. City of Belle Plaine, MN et al., 0:19-cv-1122 (D. Mn. 2019)

            2. The Satanic Temple v. Netflix, Inc. et al., 1:18-cv-10372 (S.D. Ny. 2018)

            3. Cave et al. v. Thurston, 4:18-cv-342 (E.D. Ark. 2018)

            4. The Satanic Temple et al. v. City of Scottsdale, 2:18-cv-621 (D. Az. 2018)

                   a. On appeal as The Satanic Temple, Inc., et al v. City of Scottsdale, 20-15338,

                       (9th Cir. 2020)

            5. The Satanic Temple et al v. Nixon et al., 4:15-cv-986 (E.D. Mo. 2015)

                   a. Appealed as The Satanic Temple, et al. v. Mike Parson, et al., 16-3387 (8th

                       Cir. 2016)

            6. Freedom From Religion Foundation, Inc., et al. v. Franklin County, Indiana, 1:15-cv-

               484 (S.D. Ind. 2015)




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    The following are not “cases” within the letter of the order but fall within the spirit of the order.

The following are administrative complaints raised by TST to the Massachusetts Commission Against

Discrimination (“MCAD”):

    1. The Satanic Temple v. Window World of Boston LLC (18BPA02782)

    2. The Satanic Temple v. Twitter (18BPA00827)

    3. The Satanic Temple v. Facebook (case number unknown)

        REQUEST FOR PRODUCTION NO. 10: Please produce a copy of all tenets or

statements of belief that the Satanic Temple holds as in some manner authoritative or as completely

or substantially expressing the commitments of its members or leadership.

        Answer: The only tenets or statements of belief are the “mission” and “tenets” statements

found on the publicly-available website and cited in prior briefing.

        September 26, 2019 supplement: To clarify, the only “authoritative” statements of belief

are the previously-described statements.

                                               Respectfully submitted on April 10, 2020,
                                               on behalf of The Satanic Temple
                                           By: /s/ Matthew A. Kezhaya
                                               Matthew A. Kezhaya, ABA# 2014161

                                                1202 NE McClain Rd
                                                Bentonville, AR 72712
                                       phone: (479) 431-6112
                                     facsimile: (479) 282-2892
                                         email: matt@kezhaya.law

                              CERTIFICATE AND NOTICE OF SERVICE

        NOTICE IS GIVEN that I, Matthew A. Kezhaya caused to be served the foregoing document
by transmitting to the Defendants by email to the following on April 10, 2020.




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Andrew Schultz
aschultz@rodey.com
Attorney for Plaintiffs

Gerry Schulze
gerrysch@b-s-m-law.com
Attorney for Consolidated Plaintiffs

Michael Cantrell
michael.cantrell@arkansasag.gov
Attorney for Defendant




 Matthew A. Kezhaya, ABA# 2014161




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